       Case 1-21-01121-nhl            Doc 34       Filed 06/29/23   Entered 06/29/23 10:52:09




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
 ------------------------------------------------------------x
 In re:                                                          Chapter 11
                                                                 Case No. 19-43441-nhl
 41-23 HAIGHT REALTY INC.,
 a/k/a 41-23 HAIGHT STREET REALTY, INC.

                                        Debtor.                  Hon. Nancy Hershey Lord
                                                                 United States Bankruptcy Judge
 ------------------------------------------------------------x

THE OFFICIAL COMMITTEE OF
UNSECURED CREDITORS OF 41-23 HAIGHT
REALTY, INC., a/k/a 41-23 HAIGHT STREET
REALTY, INC.,
                            Plaintiff,                           Adv. Pro. No. 21-01121


                    v.

 G4 CAPITAL BRIDGE, LLC,

                                       Defendant,

---------------------------------------------------------------x
                   STIPULATION AND ORDER EXTENDING THE TIME TO
                                    RESPOND TO THE COMPLAINT

IT IS HEREBY stipulated and agreed between the undersigned as follows:

        1.       The time for defendant G4 Capital Bridge, LLC to respond to the complaint filed

in the above-captioned adversary proceeding is hereby extended to July 31, 2023.

        2.       This stipulation may be executed in counterparts, all of which, when taken together

shall be deemed one original. Signatures transmitted electronically (whether by facsimile or email

PDF) shall be deemed to be original.

                                 [SIGNATURE PAGE TO FOLLOW]




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Dated: June 29, 2023
       Buffalo, New York

                                 GLEICHENHAUS, MARCHESE & WEISHAAR P.C.
                                    Counsel to Plaintiff

                               By:    s/Scott J. Bogucki
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Dated: June 29, 2023
       New York, New York

                                      KRISS & FEUERSTEIN LLP
                                      Counsel to Defendant G4 Capital Bridge, LLC

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